      Case 1:24-cv-10092-RGS            Document 44        Filed 04/26/24      Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

------------------------------------------------------------- X
ALEXANDER KESTENBAUM and                                      :
STUDENTS AGAINST ANTISEMITISM, INC., :
                                                              :
                      Plaintiffs,                             : Case No. 1:24-cv-10092-RGS
                                                              :
         v.                                                   :
                                                              :
PRESIDENT AND FELLOWS OF HARVARD                              :
COLLEGE,                                                      :
                                                              :
                      Defendant.                              :
                                                              :
------------------------------------------------------------- X

            DECLARATION OF SAA MEMBER #1 IN SUPPORT OF
PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS AND STRIKE



                                     FILED UNDER SEAL
